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                                                                     FILED: December 20, 2016

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT
                                       ___________________

                                               No. 16-1497
                                          (8:16-cv-00860-DKC)
                                          ___________________

         SCOTTSDALE CAPITAL ADVISORS CORPORATION; JOHN J. HURRY;
         TIMOTHY B. DIBLASI; DARREL MICHAEL CRUZ

                         Plaintiffs - Appellants

         v.

         FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.

                         Defendant - Appellee

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         SECURITIES AND EXCHANGE COMMISSION

                         Amicus Supporting Appellee

                                          ___________________

                                            JUDGMENT
                                          ___________________

                  In accordance with the decision of this court, the judgment of the district

        court is affirmed.

                  This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                                   /s/ PATRICIA S. CONNOR, CLERK
